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                     Nos. 23-12308 & 23-12313
                 ________________________________
        IN THE UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT
               ________________________________
 FLORIDA STATE CONFERENCE OF BRANCHES AND YOUTH
              UNITS OF THE NAACP, et al.
                            Plaintiffs-Appellees,
                                   v.
                        CORD BYRD, et al.,
                                    Defendants-Appellants.
                 ________________________________
                  HISPANIC FEDERATION, et al.
                                    Plaintiff-Appellee,
                                   v.
              CORD BYRD, in his official capacity as
             FLORIDA SECRETARY OF STATE, et al.,
                                   Defendants-Appellants.
                ________________________________
          On Appeal from the United States District Court
               for the Northern District of Florida
                  No. 4:23-cv-215 (Walker, C.J.)
                ________________________________
BRIEF AMICUS CURIAE OF LEAGUE OF WOMEN VOTERS OF
   FLORIDA IN SUPPORT OF PLAINTIFFS-APPELLEES
             ________________________________

                  Oral Argument Time Requested*


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Florida Bar No. 0119137        Brent Ferguson (D.C. Bar No. 1782289)
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                                Women Voters of Florida




* Amicus agrees with appellees that the issues on this appeal may be
resolved on the papers. However, if oral argument is held, LWVFL seeks
leave to participate.

** Pro hac vice application forthcoming


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 CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
              DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh

Circuit Rules 26.1-1 and 26.1-2, the undersigned counsel for Plaintiffs at

consolidated hearing and Amicus Curiae League of Women Voters of

Florida submit the following statement of their corporate interests:

1.   Plaintiff at consolidated hearing and Amicus Curiae the League of

     Women Voters of Florida, Inc. neither has a parent corporation nor

     issues stock. There are no publicly held corporations that own ten

     percent or more of the stock of the League of Women Voters of

     Florida, Inc. The League of Women Voters of Florida, Inc. is an

     affiliate of the League of Women Voters of the United States.

2.   Plaintiff at consolidated hearing and Amicus Curiae the League of

     Women Voters of Florida Education Fund neither has a parent

     corporation nor issues stock. There are no publicly held

     corporations that own ten percent or more of the stock of the League

     of Women Voters of Florida Education Fund. The League of Women

     Voters of Florida Education Fund is an affiliate of the League of

     Women Voters of the United States.


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        Under Circuit Rule 26.1-1(a)(3), Plaintiffs-Appellees further

certify that the following persons have an interest in the outcome of this

case:

  1.      Adkins, Janet, Defendant

  2.      Alianza Center, Plaintiff

  3.      Alianza for Progress, Plaintiff

  4.      Alicea, Delmarie, Counsel for Plaintiffs

  5.      Andersen, Mark, Defendant

  6.      Anderson, Chris, Defendant

  7.      Anderson, Shirley, Defendant

  8.      Arnold, Melissa, Defendant

  9.      Arrington, Mary Jane, Defendant

  10.     Artasanchez, Santiago Mayer, Plaintiff

  11.     Babis, Olivia, Declarant for Plaintiffs

  12.     Baird, Maureen, Defendant

  13.     Bardos, Andy, Counsel for Defendants

  14.     Barton, Kim, Defendant

  15.     Beato, Michael, Counsel for Defendant

  16.     Bell, Daniel W., Counsel for Defendant

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 17.   Benda, Kyle, Counsel for Defendant

 18.   Bennett, Michael, Defendant

 19.   Blazier, Melissa, Defendant

 20.   Bledsoe, William, Counsel for Defendant

 21.   Bobanic, Tim, Defendant

 22.   Boettcher, Ellen Margaret, Counsel for Plaintiffs at

       consolidated hearing and Amicus Curiae

 23.   Boltrek, William, III, Counsel for Defendants

 24.   Brown, Tomi, Defendant

 25.   Byrd, Cord, Defendant

 26.   Campbell-Harris, Dayton, Counsel for Plaintiffs

 27.   Cannon, Starlet, Defendant

 28.   Cepeda Derieux, Adriel I., Counsel for Plaintiffs

 29.   Chambless, Chris, Defendant

 30.   Chappell, David W., Counsel for Defendant

 31.   Chason, Sharon, Defendant

 32.   Conyers, Grant, Defendant

 33.   Corley, Brian, Defendant

 34.   Cowles, Bill, Defendant


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 35.   Cruz, Roberto, Counsel for Plaintiffs

 36.   Darlington, Andrew, Declarant for Defendants

 37.   Davis, Ashley, Counsel for Defendant

 38.   Davis, Vicky, Defendant

 39.   Davis, Vicky, Defendant

 40.   Diaz, Jonathan Michael, Counsel for Plaintiffs at consolidated

       hearing and Amicus Curiae

 41.   Disability Rights Florida, Plaintiff

 42.   Doe, A., Plaintiff

 43.   Doyle, Tommy, Defendant

 44.   Driggers, Heath, Defendant

 45.   Dunaway, Carol, Defendant

 46.   Dunn, Chad, Counsel for Plaintiffs at consolidated hearing and

       Amicus Curiae

 47.   Earley, Mark, Defendant

 48.   Ebenstein, Julie A., Counsel for Plaintiffs

 49.   Edwards, Jennifer, Defendant

 50.   Edwards, Lori, Defendant

 51.   Ellis, Rayne, Counsel for Plaintiffs


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 52.   Erdelyi, Susan, Counsel for Defendants

 53.   Farnam, Aletris, Defendant

 54.   Feiser, Craig, Counsel for Defendant

 55.   Ferguson, Robert Brent, Counsel for Plaintiffs at consolidated

       hearing and Amicus Curiae

 56.   Florez, Johana, Declarant for Plaintiffs

 57.   Florida Alliance for Retired Americans, Plaintiff

 58.   Florida State Conference of Branches and Youth Units of the

       NAACP, Plaintiff

 59.   Freedman, John A., Counsel for Plaintiffs

 60.   Galindo, Miranda, Counsel for Plaintiffs

 61.   Glickman, Jessica, Counsel for Defendant

 62.   Griffin, Joyce, Defendant

 63.   Guzzo, Sophia, Counsel for Defendant

 64.   Hankins, Christi, Counsel for Defendant

 65.   Hanlon, John, Defendant

 66.   Hart, Travis, Defendant

 67.   Hays, Alan, Defendant

 68.   Healy, Karen, Defendant


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 69.   Herrera-Lucha, Veronica, Plaintiff

 70.   Herron, Mark, Counsel for Defendant

 71.   Hispanic Federation, Plaintiff

 72.   Hogan, Mike, Defendant

 73.   Hoots, Brenda, Defendant

 74.   Hutto, Laura, Defendant

 75.   Jarone, Joseph, Counsel for Defendant

 76.   Jazil, Mohammad O., Counsel for Defendant

 77.   Johnson, Diana, Counsel for Defendant

 78.   Johnson, Melinda, Counsel for Plaintiffs

 79.   Jonas, Sarah, Counsel for Defendant

 80.   Jones, Tammy, Defendant

 81.   Joshi, Raghav Vikas, Declarant for Plaintiffs

 82.   Kahn, Jared, Counsel for Defendant

 83.   Karpatkin, Jeremy, Counsel for Plaintiffs

 84.   Keen, William, Defendant

 85.   Keenan, Megan C., Counsel for Plaintiffs

 86.   Khanna, Abha, Counsel for Plaintiffs

 87.   Kinsey, Jennifer, Defendant


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 88.   Klitsberg, Nathaniel, Counsel for Defendant

 89.   Knight, Shirley, Defendant

 90.   Konor, Estee M., Counsel for Plaintiffs

 91.   Lang, Danielle Marie, Counsel for Plaintiffs at consolidated

       hearing and Amicus Curiae

 92.   Lapinig, Christopher, Counsel for Plaintiffs at consolidated

       hearing and Amicus Curiae

 93.   Latimer, Craig, Defendant

 94.   LaVia, John, III, Counsel for Defendants

 95.   League of Women Voters of Florida Education Fund, Inc.,

       Plaintiff at consolidated hearing and Amicus Curiae

 96.   League of Women Voters of Florida, Inc., Plaintiff at

       consolidated hearing and Amicus Curiae

 97.   Leeper, Simone Tyler, Counsel for Plaintiffs at consolidated

       hearing and Amicus Curiae

 98.   Lenhart, Kaiti, Defendant

 99.   Lewis, Lisa, Defendant

 100. Lin Lakin, Sophia, Counsel for Plaintiffs

 101. Link, Wendy, Defendant


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  102. Lux, Paul, Defendant

  103. Madduri, Lalitha, Counsel for Plaintiffs

  104. Marcus, Julie, Defendant

  105. Mari, Frank, Counsel for Defendants

  106. Markarian, David, Counsel for Defendant

  107. Martínez, Norka, Plaintiff

  108. McNamara, Caroline A., Counsel for Plaintiffs

  109. McVay, Bradley R., Counsel for Defendant

  110. Meadows, Therisa, Defendant

  111. Messer, Ryan, Defendant

  112. Milligan, Michelle, Defendant

  113. Milton, Christopher, Defendant

  114. Moody, Ashley, Defendant

  115. Morgan, Joseph, Defendant

  116. Morse, Stephanie, Counsel for Defendant

  117. Negley, Mark, Defendant

  118. Nordlund, Jared, Declarant for Plaintiffs

  119. Nweze, Adora Obi, Declarant for Plaintiffs

  120. O’Donnell, Renata, Counsel for Plaintiffs


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  121. Oakes, Vicky, Defendant

  122. Ortega, Michael, Counsel for Plaintiffs at consolidated hearing

       and Amicus Curiae

  123. Osborne, Deborah, Defendant

  124. Overturf, Charles, Defendant

  125. Perez, Devona Reynolds, Counsel for Defendant

  126. Pico, Elizabeth, Plaintiff

  127. Poder Latinx, Plaintiff

  128. Pratt, Joshua E., Counsel for Defendant

  129. Preminger, Evan, Counsel for Plaintiffs

  130. Riley, Heather, Defendant

  131. Rudd, Carol, Defendant

  132. Ruiz, Cesar Z., Counsel for Plaintiffs

  133. Rutahindurwa, Makeba, Counsel for Plaintiffs

  134. Sanchez, Connie, Defendant

  135. Sanchez, Esperanza, Plaintiff

  136. Schenck, Robert S., Counsel for Defendant

  137. Scott, Dale, Counsel for Defendant

  138. Scott, Joe, Defendant


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  139. Seyfang, Amanda, Defendant

  140. Shannin, Nicholas, Counsel for Defendant

  141. Shaud, Matthew, Counsel for Defendant

  142. Sjostrom, Noah, Counsel for Defendant

  143. Slater, Cynthia, Declarant for Plaintiffs

  144. Smith, Diane, Defendant

  145. Southerland, Dana, Defendant

  146. Stafford, David, Defendant

  147. Stewart, Gregory, Counsel for Defendant

  148. Swain, Robert, Counsel for Defendant

  149. Swan, Leslie, Defendant

  150. Tilley, Daniel B., Counsel for Plaintiffs

  151. Todd, Stephen, Counsel for Defendant

  152. Turner, Ron, Defendant

  153. UnidosUS, Plaintiff

  154. Valdes, Michael, Counsel for Defendant

  155. Valenti, Leah, Defendant

  156. Van De Bogart, Joseph, Counsel for Defendant

  157. Vargas De-Leon, Fulvia, Counsel for Plaintiffs


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  158. Vilar, Marcos, Declarant for Plaintiffs

  159. Villane, Tappie, Defendant

  160. Voters of Tomorrow Action, Inc., Plaintiff

  161. Walker, Gertrude, Defendant

  162. Walker, Mark E., U.S. District Court Judge

  163. Warren, Nicholas L.V., Counsel for Plaintiffs

  164. Wermuth, Frederick, Counsel for Plaintiffs

  165. Whitaker, Henry, Counsel for Defendant

  166. Whitaker, Henry, Counsel for Defendant

  167. White, Christina, Defendant

  168. Wilcox, Wesley, Defendant




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                 STATEMENT OF AMICUS CURIAE

     The League of Women Voters of Florida Education Fund and the

League of Women Voters of Florida, Inc. (collectively, LWVFL or the

League) file this brief and request oral argument time (if oral argument

is held) pursuant to Fed. R. App. P. 29(a)(8) due to their strong interest

in upholding the district court’s preliminary injunction.

     If oral argument is held, the League’s participation is appropriate

here because the League has challenged the same two provisions of

Senate Bill 7050 at issue in this appeal.1 See LWVFL Mtn. to Intervene,

Doc. 30-1 at 8.2 Further, like appellees, the League moved for a

preliminary injunction to stop enforcement of those provisions. The

League’s motion was denied as moot because the district court had

already granted the preliminary injunction requested by appellees. See

League of Women Voters, Doc. 46 at 3. Thus, this Court’s decision will

affect the League in the same way it will affect appellees.




1 The League’s case has been consolidated with those of the appellees. See

League of Women Voters of Florida v. Moody, Case No. 4:23-cv-216, Doc.
33, 52.
2 Pursuant to 11th Cir. R. 28-5, page numbers for documents filed in this

appeal and in the district court correspond with the page number that
appears in the header generated by the court’s filing system.
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     All parties have consented to the filing of this brief. No party’s

counsel authored this brief in whole or in part, and no party, party’s

counsel, or other person contributed money intended to fund preparation

or submission of the brief.

                   STATEMENT OF THE ISSUES

     1. Whether the district court abused its discretion when it

determined that appellees were substantially likely to succeed on the

merits of their claim that Fla. Stat. § 97.0575(1)(f) (the Non-U.S. Citizen

Volunteer Restriction) violates the Equal Protection Clause.

     2. Whether the district court abused its discretion when it

determined that NAACP appellees were substantially likely to succeed

on the merits of their claim that Fla. Stat. § 97.0575(7) (the Voter

Information Restriction) is unconstitutionally vague.

                  SUMMARY OF THE ARGUMENT

     The district court correctly enjoined the two provisions at issue on

this appeal.

     The Non-U.S. Citizen Volunteer Restriction, which prevents all

non-citizens from working as volunteers with third-party voter

registration organizations (3PVROs), violates the Equal Protection


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Clause. On this appeal, appellants present a newfound theory that under

United States v. Salerno, 481 U.S. 739 (1987), the provision should be

upheld in full if it can be constitutionally applied to any person. But aside

from misunderstanding the law, that argument is waived because it was

never made below. And appellants have now abandoned their previous

argument that even if the law is unconstitutional, it should partially

survive and continue to apply to some subgroups of non-citizens. Thus,

this Court must apply strict scrutiny and invalidate the entire provision

if it fails.

       Waiver aside, appellants’ Salerno-based “no set of circumstances”

approach would be improper here. Id. at 745. When the Supreme Court

has reviewed laws that apply to all non-citizens, each time it has applied

strict scrutiny to the entire provision; it has never examined whether the

law could be permissibly applied to some group of non-citizens nowhere

identified in the statute. Lower courts have employed the same analysis

after Salerno, and appellants have not cited a single case upholding a law

that applies to all non-citizens on the grounds that it could be

constitutionally applied to some subgroup of non-citizens.




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     Nor can the law be saved by reliance on the political function

exception to standard equal protection jurisprudence. That exception

applies to government positions with discretionary power, not volunteers

who are “cogs in the wheel” of a government process. And even appellants

have not claimed that the law’s purpose is to ban non-citizens from

volunteering because they would be exercising a political function; they

assert instead that non-citizens could suddenly be deported or leave the

country, and would therefore be unable to timely submit voter

registration applications they had already collected.

     The district court also correctly enjoined the Voter Information

Restriction because it is unconstitutionally vague. First, it is unclear

whose conduct the law regulates. Appellants now maintain that it applies

only to volunteers who receive applications directly from prospective

voters, but the statute’s language would just as easily encompass

supervisors who collect completed applications from volunteers. Nor have

appellants explained why it would make sense to prevent retention of

voters’ personal information by those who collect information directly

from a voter, but allow others with access to applications to retain that

same information.


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     The statute also fails to define which “personal information”

3PVROs may not retain. Appellants seek to import a definition of the

term from Florida’s public records law, but that definition conflicts with

how this Court has previously defined it. And appellants do not explain

why their chosen cross-reference, mentioned nowhere in the statute,

should control. Moreover, appellants have defined personal information

differently on separate pages of their own briefing in this case.

     Finally, the law does not tell 3PVROs what they may not do with

registrants’ information. The law prohibits an individual from retaining

the information for any reason other than providing it to the 3PVRO, but

nothing in the law addresses whether other individuals who work for the

3PVRO may retain the information in order to contact the registrant to

remind them to vote or ask them to volunteer.

                               *     *      *

     The district court reached the correct decision when it granted a

preliminary injunction on July 3rd, and 3PVROs across the State have

operated without two of SB 7050’s unconstitutional restrictions since

then. With the next voter registration deadline coming on February 20,




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just weeks after oral argument is scheduled in this case, this Court

should leave the injunction in place.

                              ARGUMENT

I.   The District Court Correctly Determined that the Non.-U.S.
Citizen Volunteer Restriction Likely Violates the Equal
Protection Clause

A. This Court should reject appellants’ various attempts to avoid
standard application of strict scrutiny to the entire provision

     1. Appellants rely on a new legal theory on appeal, meaning that
     their current argument is waived and the argument they made below
     is abandoned

     Supreme Court case law makes clear how courts should proceed

when reviewing a law that treats citizens and non-citizens differently:

apply strict scrutiny and invalidate the provision if it fails. See Part

I.A.2., infra. Appellants have now presented two distinct legal theories to

try to avoid that standard method of applying strict scrutiny. First, before

the district court, appellants maintained that the court should partially

uphold the Non-U.S. Citizen Volunteer Restriction, applying different

tiers of scrutiny and allowing the law to be applied to certain groups of

non-citizens. See Def. Resp. Br., Hispanic Federation v. Byrd, Case No.

23-cv-218, Doc. 60 at 27-28; Oral Arg. Tr., Florida State Conference of

Branches & Youth Units of the NAACP v. Byrd, Case No. 4:23-cv-215,

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Doc. 99 at 94-95. The district court properly refused to “subject the

challenged provision to varying levels of scrutiny based on subgroups

that exist nowhere in the statute.” See Order Granting Prelim. Injunction

(PI Order), NAACP, Doc. 101 at 28. Now, for the first time on appeal,

appellants argue that under United States v. Salerno, 481 U.S. 739

(1987), the entire provision should survive if it can be constitutionally

applied to any person.

     As appellees point out, appellants’ Salerno-based argument is

waived because they did not raise it in the district court. But appellants

have now also abandoned the argument they made below asking the

court to sever the law and uphold any constitutional applications. With

those two erroneous approaches unavailable, this Court is left with the

typical (and correct) approach in equal protection cases: applying strict

scrutiny to the provision as it is written. See Access Now, Inc. v. Sw.

Airlines Co., 385 F.3d 1324, 1330 (11th Cir. 2004) (declining to review

merits of either appellate argument or district court argument because

appellants changed legal theories on appeal).




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           a. Appellants waived their Salerno-based argument

     Appellants waived their argument that the entire Non-U.S. Citizen

Volunteer Restriction should be upheld if it can be constitutionally

applied to any person. Instead of asking the district court to take that

approach, they asserted that the statute could be severed and upheld as

applied to certain groups. See Def. Resp. Br., Hispanic Fed., Doc. 60 at

27-28; Oral Arg. Tr., NAACP, Doc. 99 at 94-95.

     This Court has held time and again that in most circumstances, an

argument not made before the district court may not be made on appeal.

Ruckh v. Salus Rehab., LLC, 963 F.3d 1089, 1110 (11th Cir. 2020) (“As a

general principle, this court will not address an argument that has not

been raised in the district court.”) (quotation marks omitted). The

preservation requirement is not a mere formality. Rather, the rule is

intended to maintain a fundamental premise of our adversary system by

“afford[ing] the district court an opportunity to recognize and rule on” the

argument at issue. Ruckh, 963 F.3d at 1111. Further, “[j]udicial economy

is served and prejudice is avoided by binding the parties to the facts

presented and the theories argued below.” Stewart v. Dep’t of Health &

Hum. Servs., 26 F.3d 115, 115 (11th Cir. 1994) (quotation marks omitted).


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     Importantly, the preservation rule applies not just to entire legal

claims, but also to legal theories supporting claims and defenses like the

“no set of circumstances” theory appellants advance here. For example,

in Access Now, the plaintiffs argued that Southwest Airlines had violated

the Americans with Disabilities Act. 385 F.3d at 1325. To succeed, they

needed to establish that Southwest operated a place of public

accommodation. This Court refused to consider their argument that

“Southwest Airlines as a whole [was] a place of public accommodation,”

because below they had argued only that the airline’s website was a place

of public accommodation. Id. at 1328. Thus, as in Access Now, this Court

should refuse to review an argument that the district court “never had a

chance to examine.” Id. at 1331.3




3 Nor could appellants plausibly contend that an exception to the
preservation rule applies. Some cases have reviewed unpreserved
arguments if failure to do so would result in a “miscarriage of justice.”
Wright v. Hanna Steel Corp., 270 F.3d 1336, 1342 (11th Cir. 2001). But
those cases involve situations much different than the one here — for
example “it would defeat the ‘interests of substantial justice’ to apply the
waiver rule to a pro se litigant on an issue that was decided in his favor”
in separate proceedings. Ramirez v. Sec’y, U.S. Dep’t of Transp., 686 F.3d
1239, 1250 (11th Cir. 2012).
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           b. Appellants abandoned their argument that the statute
           should be severed

     By switching theories on appeal, appellants have also abandoned

the argument they made to the district court that the law should be

partially salvaged if any of its applications are constitutional.

       “[A] legal claim or argument that has not been briefed before the

court is deemed abandoned and its merits will not be addressed.” Access

Now, 385 F.3d at 1330. That is because of “the obvious need to avoid

confusion” and because “[i]f an argument is not fully briefed (let alone not

presented at all) to the Circuit Court . . . the appellee would have no

opportunity to respond to it.” Id. (citation omitted). Like this Court’s law

on waiver, the abandonment rule applies to each discrete theory

advanced to support a claim or defense. See, e.g., Ocampo v. U.S. Atty.

Gen., 346 F. App’x 565, 568 (11th Cir. 2009) (refusing to consider

petitioner’s legal theory supporting asylum claim “because she did not

assert that theory on appeal”).

     Here, appellants’ theory that some applications of the Non-U.S.

Citizen Volunteer Restriction should be upheld “has not been briefed

before the court.” Access Now, 385 F.3d at 1330. Their opening brief

addresses varying tiers of scrutiny only to contend that the entire

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provision should be upheld under Salerno. Appellants’ Br., Hispanic Fed.

v. Byrd, Case No. 23-12313, Doc. 21 (hereinafter Appellants’ Br.) at 23-

27. That approach leaves this Court without any argument or case law

from appellants explaining how or when statutory provisions should be

partially upheld. Any attempt to revive that theory on this appeal should

be rejected. See Brown v. Alabama Dep’t of Transp., 597 F.3d 1160, 1175

n.8 (11th Cir. 2010) (appellant abandoned argument by “fail[ing] to

include it in its opening brief on appeal” and raising it only in reply

brief).4

      2. Appellants’ Salerno-based argument invites misreading the
      Supreme Court’s alienage jurisprudence

      In addition to being waived, appellants’ Salerno-based “no set of

circumstances” argument flies in the face of black-letter equal-protection

doctrine. For more than half a century, the Supreme Court has made

clear that state-law alienage classifications merit strict-scrutiny review,



4 Appellants’ attempt to save part of the statute would fail even if it were

not abandoned. In Reno v. ACLU, 521 U.S. 844 (1997), the Supreme
Court explained that it is improper to “rewrite a law to conform it to
constitutional requirements,” even if the law’s severability clause
instructs courts to uphold any part of the law that might be applied in a
constitutional manner. Id. at 884-85 (quotation marks omitted). Here,
such maneuvering would be even more inappropriate than it would have
been in Reno v. ACLU because SB 7050 contains no severability clause.
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even when the classifications are narrower than the total ban here.

Graham v. Richardson, 403 U.S. 365, 372 (1971). Appellants offer no

persuasive justification for abandoning this bedrock principle for the first

time here.

     The Supreme Court built its alienage jurisprudence on facial

challenges to statutes like Florida’s Non-U.S. Citizen Volunteer

Restriction. Like the plaintiffs here, the plaintiffs in the Court’s

landmark cases challenged provisions that classified broadly against

non-citizens. See NAACP Appellees’ Br., Doc. 45 at 28-29 (collecting

cases). As the Second Circuit recognized, the plaintiffs in the Supreme

Court’s alienage cases argued “that the statutes were unconstitutional on

their face because they drew explicit distinctions between citizens and

non-citizens, not just because a state had interpreted a statute to deny

benefits to a group of aliens.” Dandamudi v. Tisch, 686 F.3d 66, 73 n.8

(2d Cir. 2012) (emphasis added).

     Moreover,     when     resolving     facial   challenges      to   alienage

classifications, the Supreme Court has applied strict scrutiny even to

narrower statutes than the one at issue here. Graham itself was such a

classification: there, Arizona excluded from financial assistance


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programs only non-citizens who had resided in the United States for less

than fifteen years. Graham, 403 U.S. at 367. The Court declined to

analyze the provision’s constitutionality as applied only to those

excluded, even when the statute created a subgroup of non-citizens.

Instead, the Court reaffirmed the broad principle that the Fourteenth

Amendment “entitles both citizens and aliens to the equal protection of

the laws.” Graham, 403 U.S. at 371. If the Supreme Court employs strict

scrutiny when reviewing a law that excludes some, but not all, non-

citizens, there is no question that this Court should apply strict scrutiny

to Florida’s total exclusion of non-citizen volunteers.

     Likewise, the Court has applied strict scrutiny to laws that “served

to discriminate only within the class of aliens.” Nyquist v. Mauclet, 432

U.S. 1, 8 (1977). In Nyquist, which involved a New York law that made

college scholarships available to non-citizens only if they sought

citizenship , the Court also emphasized that in determining the proper

standard of review, “the important points are that [the statute] is

directed at aliens and that only aliens are harmed by it.” Id. at 9.

     Nothing about Salerno changes this analysis, as demonstrated by

appellants’ failure to point to a single case in which a court has taken the


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path they suggest is required. Although the Supreme Court has not heard

an alienage-classification challenge since Salerno, lower courts have

correctly continued to apply strict scrutiny to entire statutory provisions

without engaging in the thought experiments appellants invite. In

Dandamudi, for example, a New York law prevented non-citizens other

than legal permanent residents from obtaining a pharmacist’s license.

686 F.3d. at 69. Despite recognizing the distinctions between lawfully

admitted non-citizens and those who are undocumented, the Court

applied strict scrutiny and affirmed the district court’s order enjoining

the law’s enforcement. Id. at 70-71, 74. Contrary to what appellants

advocate here, the Court did not ask whether the law could be

constitutionally applied to any group of non-citizens and therefore be

upheld in its entirety. See id. at 74; see generally United States v. Osorto,

995 F.3d 801, 811 (11th Cir. 2021) (noting that “state laws that

discriminate against noncitizens are subject to strict scrutiny”).

B. The political function exception is clearly inapplicable here

     As the Supreme Court has explained, “[t]he focus of” its political

function jurisprudence “has been whether a position was such that the

officeholder would necessarily exercise broad discretionary power over the


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formulation or execution of public policies importantly affecting the

citizen population.” Bernal v. Fainter, 467 U.S. 216, 223-224 (1984)

(emphasis added); see Hispanic Fed. Appellees’ Br., Doc. 57 at 39-44. That

description is accurate: the Court’s other decisions concerning the

exception ask whether people employing the positions in question are

vested with discretionary powers. See Ambach v. Norwick, 441 U.S. 68,

75 (1979) (assessing “the degree of responsibility and discretion teachers

possess”); Foley v. Connelie, 435 U.S. 291, 297 (1978) (noting that police

officers “are clothed with authority to exercise an almost infinite variety

of discretionary powers”).

     Cervantes v. Guerra, 651 F.2d 974 (5th Cir. 1981), relied upon

heavily by appellants, employs the same analysis. There, the Court

applied the exception to members of a government-created board because

the role “‘involve[d] discretionary decisionmaking, or execution of policy,

which substantially affects members of the political community.’” Id. at

981 (quoting Foley, 435 U.S. at 296) (noting that the board in question

“dispose[d] of a budget of between five and ten million dollars in public

funds”).




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      Appellants attempt to expand the exception to encompass 3PVRO

volunteers, describing them as “cogs in the wheel of the election

administration process.” Appellants’ Br., Doc. 21 at 31. But that

admission of their role ends the inquiry: cogs in a wheel plainly do not

exercise discretionary power. Nor do 3PVRO volunteers — they perform

“clerical and ministerial” duties, following strict and detailed rules when

collecting voter registration applications and submitting them to the

State. 467 U.S. at 225. If they fail to follow those rules, they risk severe

punishment. Unlike in Cervantes, 3PVRO volunteers do not make

“choices [that] have profound effects on the community.” 651 F.2d at 982.

Appellants’ effort to apply the exception to any person, government

employee or not, who plays any role related to the democratic process

finds no support in the case law.

      Nor can appellants show that the political function exception

should be applied “every step along the way of helping citizens elect

citizen peers.” Appellants’ Br., Doc. 21 at 31. The Cervantes Court’s

discussion provides no support for that proposition because it focuses on

elected officials and “the right of the people to be governed by their citizen




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peers,” 651 F.2d at 981 (quotation marks omitted), which is plainly

inapplicable to volunteers far removed from elected office.

      Likewise, Bluman v. FEC, 800 F. Supp. 2d 281 (D.D.C. 2011) (see

Appellants’ Br., Doc. 21 at 31), is unhelpful. Although Bluman contains

broad dicta about limiting “the right to participate in . . . activities of

democratic self-government” to citizens, its holding concerned political

spending by foreign nationals who sought to “influence how voters

[would] cast their ballots.” Id. at 288. Here, of course, the activity at issue

is not seeking to influence voters, but simply “collecting or handling”

completed voter registration applications.5 Further, even appellants

likely would concede that Bluman’s holding is limited to political

spending and cannot be applied to speech itself: Florida has not tried to

prevent non-citizens from merely speaking or writing in support of a

candidate for office, and could not constitutionally do so. See, e.g., Bridges

v. Wixon, 326 U.S. 135, 148 (1945) (“Freedom of speech and of press is


5 To be sure, as the League and appellees have argued, the law’s
limitation on collecting and handling voter registration applications
heavily burdens 3PVRO volunteers’ ability to engage in speech that
addresses issues of democratic self-government. But appellants have not
directly regulated that speech and maintain that volunteers may
continue to engage in that speech despite the Non-U.S. Citizen Volunteer
Restriction.
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accorded aliens residing in this country.”).6 But by sweeping in any

activity related to self-government, appellants’ version of the political

function exception would allow Florida to do just that.

     More fundamentally, appellants do not even try to link the political

function exception’s rationale to the rationale behind the Non-U.S.

Citizen Volunteer Restriction. The political function exception’s purpose

is to allow states to “limit the right to govern to those who are full-fledged

members of the political community.” Bernal, 467 U.S. at 221 (emphasis

added). But appellants do not contend that the restriction at issue here

is about self-government; instead, they argue that it helps ensure that

voter registration applications are timely submitted, on the theory that

“those with illegal or temporary status . . . may leave the country

voluntarily or involuntarily any day and without warning.” Appellants’

Br., Doc. 21 at 25. That alleged concern over sudden flight or deportation

is fundamentally distinct from one about whether non-citizens who


6 While the political spending at issue in Bluman receives robust First

Amendment protection, the Supreme Court has never treated campaign
spending identically to verbal or written speech. For example, campaign
contributions to a particular candidate may be limited in amount, see,
e.g., Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 345 (2010),
while verbal or written speech in support of that candidate clearly may
not.
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remain in the United States and submit completed voter registration

forms possess “the right to govern,” Bernal, 467 U.S. at 221, meaning that

the political function exception is inapplicable here.


II. The District Court Correctly Determined that the Voter
Information Restriction Is Likely Unconstitutionally Vague

     The district court properly enjoined SB 7050’s Voter Information

Restriction as void for vagueness.

     SB    7050      prohibits   a   person    collecting    voter    registration

applications on behalf of a 3PVRO from copying the voter’s application or

“retain[ing] a voter’s personal information, such as the voter’s Florida

driver license number, Florida identification card number, social security

number, or signature, for any reason other than to provide such

application or information to the [3PVRO] in compliance” with Section

97.0575. Fla. Stat. § 97.0575(7). Violation of this provision is a third-

degree felony. Id.

A. The district court applied the proper standard for vagueness

     In issuing the preliminary injunction, the district court articulated

a three-part test, supported by well-established legal authority, to




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evaluate the Voter Information Restriction. See PI Order, NAACP, Doc.

101 at 40.

     “It is a basic principle of due process that an enactment is void for

vagueness if its prohibitions are not clearly defined.” Grayned v. City of

Rockford, 408 U.S. 104, 108 (1972). A law is void for vagueness if it “fails

to provide a person of ordinary intelligence fair notice of what is

prohibited, or is so standardless that it authorizes or encourages

seriously discriminatory enforcement.” United States v. Williams, 553

U.S. 285, 304 (2008).

     “The degree of vagueness that the Constitution tolerates—as well

as the relative importance of fair notice and fair enforcement—depends

in part on the nature of the enactment.” Vill. of Hoffman Ests. v. Flipside,

Hoffman Ests., Inc., 455 U.S. 489, 498 (1982). For example, courts have

lower tolerance for vagueness in criminal statutes, as compared to civil

statutes. Id. at 498-99. Vagueness is least tolerated in statutes that

“threaten[] to inhibit the exercise of constitutionally protected rights,”

where “a more stringent vagueness test should apply.” Id. at 499.

     As the district court correctly reasoned, see PI Order, NAACP, Doc.

101 at 38-39, whereas “federal courts have the power to adopt narrowing


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constructions of federal legislation,” Boos v. Barry, 485 U.S. 312, 330-31

(1988) (emphasis added), “federal courts are without power to adopt a

narrowing construction of a state statute unless such a construction is

reasonable and readily apparent,” id. at 330 (emphases added). Thus, as

the district court did here, courts must look to the plain language of the

challenged statute to determine if such a constitutional reading of the

statute exists. See PI Order, NAACP, Doc. 101 at 39-40 (citing Citizens

for Responsible Gov. State Pol. Action Comm. v. Davidson, 236 F.3d 1174,

1194-95 (10th Cir. 2000)).

     A    state   statute     that   provides     for   criminal     penalties   is

unconstitutionally vague unless it “define[s] the criminal offense with

sufficient definiteness that ordinary people can understand what conduct

is prohibited” “in a manner that does not encourage arbitrary and

discriminatory enforcement.” Kolender v. Lawson, 461 U.S. 352, 357

(1983).

     To avoid invalidation under the vagueness doctrine, a law must

adequately define to whom the statute applies. See Dream Defs. v.

Governor of the State of Fla., 57 F.4th 879, 891-93 (11th Cir. 2023)

(concluding that state statute was void for vagueness because, inter alia,


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multiple valid interpretations existed as to “which participants [in a

protest] could be arrested and charged with rioting in [a] hypothetical

scenario”); see also Manning v. Caldwell for City of Roanoke, 930 F.3d

264, 275 (4th Cir. 2019) (holding that state statute was void for

vagueness where its use of “the term ‘drunkard’ does not provide any

meaningful guidance”).

     To be valid under the void-for-vagueness doctrine, a law must also

adequately define the conduct that it prohibits. See Dream Defs., 57 F.4th

at 891-93 (concluding that state statute was void for vagueness because,

inter alia, its “text raises [] questions about what kind of conduct the

statutory definition prohibits”).

B. The district court correctly held that the Voter Information Restriction
is unconstitutionally vague

     Applying these standards for vagueness to the Voter Information

Restriction, the district court properly reasoned that “[t]o understand

what this section prohibits a person of ordinary intelligence must know

three things: (1) to whom does the statute apply; (2) which information

falls within its reach; and (3) what is the person prohibited from doing

with that information.” PI Order, NAACP, Doc. 101 at 40. The court

correctly concluded that the law fails on all three fronts.

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     First, the district court correctly determined that “the statute offers

no readily apparent construction as to whom it applies.” PI Order,

NAACP, Doc. 101 at 43. While the court acknowledged that it was

“obvious” that the Voter Information Restriction applies to “individuals

who engage directly with voters and collect completed applications from

the voters,” it was also right to conclude that the Restriction “does not

necessarily limit its prohibitions only to [such] people.” Id at 42-3. The

law could, for example, “include[] the chain of command and the chain of

custody within a given 3PVRO, from the canvasser to the field organizer,

to the quality control personnel, to the person who finally delivers the

completed applications to the appropriate elections officials.” Id at 43.

     In their opening brief, appellants contend that because the Voter

Information Restriction uses the word “collecting,” the law applies to

individuals who directly “gather[] an application from a prospective

voter” and not to individuals who “take[] the steps necessary to deliver

the completed application to the appropriate election official.” Appellants’

Br., Doc. 21 at 34 (arguing that the Restriction applies to an individual

“when she’s collecting applications, though not when she’s handling




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applications collected by others”).7 Thus, under appellants’ reading of the

statute, the Restriction only applies to volunteers who receive completed

voter registration applications directly from registrants at, for example,

a voter registration drive. But the Restriction could just as plausibly be

read to apply to supervisors who “collect” completed applications from the

group of volunteers they are supervising, and appellants provide no

reason to reject such an understanding. Moreover, appellants’ reading of

the statute nonsensically would prohibit a volunteer who receives a

completed application from a registrant from retaining personal

information on that application, but would allow that volunteer to pass

that completed application onto another volunteer, who would in turn be

permitted to retain the personal information at issue.

     A restriction on speech such as the Voter Information Restriction,

which “only vaguely specifie[s] who it cover[s]” and forces individuals to




7  Notably, although appellants highlight the Voter Information
Restriction’s use of the term “collecting” instead of “collecting or
handling,” which is found elsewhere in SB 7050, the Department of
State’s newly published rule does not define the term “collecting”
standing alone. It defines “collecting or handling” as “physically
exercising custody over voter registration applications containing a
voter’s personal information” without distinguishing between “collecting”
and “handling.” See Fla. Admin. Code 1S-2.042(3)(c).
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guess if they are in fact covered, is unconstitutional. In re Murphy-Brown,

LLC, 907 F.3d 788, 800-01 (4th Cir. 2018) (vacating a gag order that

covered a “pool of potential witnesses [that] was unimaginably large and

anything but self-explanatory” and could “include[] nearly everyone

related to the controversy”).

      Second, the district court correctly held that the Voter Information

Restriction impermissibly “leaves open a broad universe” of what

information falls within its reach — that is, what the Restriction

contemplates as “personal information.” PI Order, NAACP, Doc. 101 at

47.

      The Restriction describes “personal information” as including, but

not limited to, a voter’s driver’s license number, identification card

number, social security number, or signature. As the district court

reasoned, no readily apparent construction of the Restriction’s plain

language supports appellants’ argument that “personal information”

means “private, non-public information.”8 Indeed, SB 7050 does not



8 Moreover, even assuming arguendo that the Restriction does in fact

define “personal information” as “private, non-public information,” the
terms “private” and “non-public” are subject to “sweeping and shifting”
definitions that still do not adequately define what information is

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define the term “personal information” at all and merely provides a non-

exhaustive list of examples.

     By contrast, this Court held that the Driver’s Privacy Protection Act

(DPPA) was not void for vagueness where it adequately defined the term

“personal information.” United States v. Hastie, 854 F.3d 1298, 1303,

1305 (11th Cir. 2017) (noting that the law “defines the term ‘personal

information’ as ‘information that identifies an individual, including an

individual’s photograph, social security number, driver identification

number, name, address (but not the 5–digit zip code), telephone number,

and medical or disability information, but does not include information

on vehicular accidents, driving violations, and driver’s status’” (quoting

18 U.S.C. § 2725(3)). This Court reasoned that “[t]he term ‘personal

information’ should be read naturally to include facts that can identify

an individual.” Id. at 1304 (concluding that email addresses counted as

“personal information”).




covered. PI Order, NAACP, Doc. 101 at 47 (“Defendants’ proposed
construction begs the question of whether something is private or ‘not
generally available to the public’ depends upon the efforts to which
someone must go to locate the information.”).
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     SB 7050, unlike the DPPA, does not define “personal information”

at all. And tellingly, appellants’ own definition of the term contradicts

the Eleventh Circuit’s “natural reading” of “personal information” in

Hastie, by defining the term to exclude email addresses. See Appellants’

Br., Doc. 21 at 35. This contradiction underscores the inevitable

conclusion that there is no readily apparent construction of the

Restriction that can apprise a person of ordinary intelligence as to which

information falls within its reach.

     Nor can appellants succeed by employing a cross-reference to

information that is “confidential and exempt” from Florida’s public

records laws. See Appellants’ Br., Doc. 21 at 36. Nowhere in the Voter

Information Restriction are those public records laws mentioned, and

appellants provide no reason to believe that a person reading SB 7050

would   look   to   public   records       laws   for   guidance.     See,    e.g.,

GeorgiaCarry.org, Inc. v. City of Atlanta, 602 F. Supp. 2d 1281, 1284

(N.D. Ga. 2008) (“The Court, however, cannot use definitions from a[n]

entirely different statute to construe a term . . . in a manner that is

contrary to the term’s common and ordinary meaning.”), aff’d, 318 F.

App’x 851 (11th Cir. 2009); Watkins v. Brown, 173 F. Supp. 2d 409, 414


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(D. Md. 2001) (noting as significant that “[t]here is no indication in the

statute that these definitions are any different from the commonly

understood meaning of the term”).

     Further, it is worth noting that even appellants are inconsistent in

their definition of the term “personal information.” In one instance in

their preliminary injunction briefing, appellants use the term “personal

voter information” to include an individual’s home address, Def. Resp.

Br., League of Women Voters, Doc. 38 at 28, but in another instance,

appellants explicitly exclude home addresses from the term, id. at 33.

This inconsistency demonstrates that appellants’ reading of the

Restriction is not “readily apparent” from the language of the statute but

was conjured only in response to this litigation.

     Third, the district court likewise observed that the Voter

Information Restriction is unclear as to what a person working for a

3PVRO is prohibited from doing with voter information received. See PI

Order, NAACP, Doc. 101 at 45-46. While that person must “provide such

application or information to the [3PVRO] in compliance with” SB 7050,

that definition “only leads to further ambiguity as it fails to address what

individuals working for the 3PVRO may do with the voter registration


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applications or voter information once they receive it from those

individuals who collected it directly from voters.” PI Order, NAACP, Doc.

101 at 45-46. Namely, it remains unclear whether those “individuals

working for the 3PVRO” may retain a voter’s information so that the

3PVRO may later contact the registrant to remind them to vote or ask

them to volunteer. While appellants have suggested that the 3PVRO may

not retain the information at all after a registrant’s application is

delivered to the State, and have finalized a rule codifying that

interpretation,   Fla. Admin. Code 1S-2.042(5)(g), “this prohibition is

found nowhere” in the statute. PI Order, NAACP, Doc. 101 at 46.9



                            CONCLUSION

     For these reasons, the district court’s order should be affirmed.




9 Further, appellants’ interpretation that would include a prohibition on

3PVROs themselves contradicts their position that the Voter Information
Restriction applies only to individuals collecting applications directly
from prospective voters. See Appellants’ Br., Doc. 21 at 33-34.
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                   CERTIFICATE OF COMPLIANCE

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Dated: November 20, 2023
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